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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DEMOCRACY PARTNERS, LLC,                      :
et al.,                                       :
                                              :
       Plaintiffs,                            :
v.                                            :               CASE NO.: 1:17-CV-1047-ESH
                                              :
PROJECT VERITAS ACTION FUND,                  :
et al.,                                       :
                                              :
      Defendants.                             :
_____________________________                 :
 

            PROJECT VERITAS PARTIES’ UNOPPOSED MOTION TO
         RESCHEDULE STATUS CONFERENCE DUE TO TRIAL CONFLICT

       Lead counsel for the Project Veritas Parties has a trial conflict during the presently set

January 22, 2019 Status Conference. Accordingly, good cause exists to reset the Status

Conference, and the undersigned propose alternative dates of February 12, 13, or 14. Plaintiffs’

counsel does not oppose this motion and is available on the proposed alternative dates.

       The Court’s January 23, 2018 Order [D.E. 33] set a Status Conference for January 22,

2019. Paul A. Calli is lead trial counsel for the Project Veritas Parties. Mr. Calli and Chas Short,

both of Calli Law LLC, have a scheduling conflict due to a federal criminal trial in Hattiesburg,

Mississippi, in the case of United States v. Hope Thomley et al., No. 18-cr-00018-KS-MTP (S.D.

Miss.). Trial begins on January 8, 2019 and is expected to last five weeks. There is no belief that

the Thomley case will resolve without trial or be continued. Accordingly, good cause exists to reset

the status conference so that lead counsel may appear at it on behalf of the Project Veritas Parties.

See [D.E. 33] at ¶ 12 (good cause and leave of Court required to modify dates related to discovery,
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status conferences, and motions). Resetting the status conference will not create any meaningful

delay, nor will it prejudice any party. Plaintiffs do not oppose this Motion.

       WHEREFORE, the Project Veritas Parties request that the January 22, 2019 Status

Conference be rescheduled and propose alternative dates of February 12, 13, or 14, 2019.

                                              Respectfully submitted,

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                                       Project Veritas, James O’Keefe, and Allison Maass   
                                                                      
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                                CERTIFICATE OF SERVICE

       I CERTIFY that on November 5, 2018, I served the foregoing through the Court’s

electronic filing system which served a copy on all counsel of record.




                                             [s] Paul A. Calli______________
                                             Paul A. Calli, Esq.
